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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA              :

                   v.                 : NO. 3:99CR85(EBB)

HECTOR BARRIENTOS                     :



                    RULING ON MOTION FOR STATUS CONFERENCE
                               AND OTHER RELIEF

       The motion [Doc. No. 1511] is granted. A status conference shall be held on April 5,

2007, in chambers at 2:00 p.m.

       The United States Marshall’s service shall arrange for the transportation of defendant to

New Haven to be available to consult with defense counsel at 9:00 a.m. The Clerk shall arrange

for an interpreter to assist at counsel’s meeting with defendant.



                                      SO ORDERED.



                                      __________________________________
                                      ELLEN BREE BURNS, SENIOR JUDGE
                                      UNITED STATES DISTRICT COURT

       Dated at New Haven, CT, this ____ day of March, 2007.
